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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   KATE GRANT and KARMANN KASTEN,
   LLC,                                                    [PROPOSED] ORDER
                                                        EXTENDING CERTAIN CASE
                  Plaintiffs,                                  DEADLINES
   vs.

   KEVIN LONG; MILLCREEK                              Case No: 2:23-cv-00936-AMA-CMR
   COMMERCIAL PROPERTIES, LLC;
   COLLIERS INTERNATIONAL; BRENT                          Judge Ann Marie McIff Allen
   SMITH; SPENCER TAYLOR; BLAKE
   MCDOUGAL; and MARY STREET,                          Magistrate Judge Cecilia M. Romero
                  Defendants.


         Having reviewed the parties’ Stipulated Motion to Extend Certain Case Deadlines, and

  for good cause appearing,

         IT IS HEREBY ORDERED that the Stipulated Motion is GRANTED and that the

  following deadlines apply in this case:
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                   •   Close of fact discovery: March 11, 2025;

                   •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – party(ies)

                       bearing burden of proof: March 25, 2025;

                   •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – counter

                       disclosures: April 15, 2025;

                   •   Rule 26-(a)(2) expert reports – party(ies) bearing burden of proof: April 22, 2025;

                   •   Rule 26-(a)(2) expert reports – counter reports: May 21, 2025;

                   •   Last day for expert discovery: June 25, 2025;

                   •   Deadline for filing dispositive or potentially dispositive motions: July 11, 2025;

                   •   If the parties do not intend to file dispositive or potentially dispositive motions, a

                       scheduling conference will be held for purposes of setting a trial date: TBD; and

                   •   Evaluate case for settlement/ADR: March 11, 2025.



           DATED this ____ day of December, 2024.

                                                              BY THE COURT:

                                                              ______________________________
                                                              Cecilia M. Romero
                                                              United States Magistrate Judge

  APPROVED AS TO FORM AND CONTENT:

                                                      CHRISTIANSEN LAW, PLLC

                                                      By: /s/ Stephen K. Christiansen
                                                         Stephen K. Christiansen
                                                         Joshua B. Cutler
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  4858-8110-1309                                          2
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                                      David B. Nielson

                                      Attorneys for Defendant Colliers International

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                                      John Keiter

                                      Attorney for Brent Smith

                                   RAY QUINNEY & NEBEKER P.C.

                                   By: /s/ Justin T. Toth
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                                      Maria E. Windham
                                      Nathan L. Jepson

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                                   STRONG & HANNI

                                   By: /s/ Stuart H. Schultz
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                                      Attorneys for Defendant Mary Street




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 4th day of December, 2024, I caused to be served a true and

  correct copy of the foregoing [PROPOSED] ORDER EXTENDING CERTAIN CASE

  DEADLINES via the CM/ECF system, which automatically provided notice to all counsel of

  record.


                                                               /s/ Bentley J. Tolk




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